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                                                  February 28, 2025

VIA ECF
Honorable Dale E. Ho
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States of America v. Adams
               Docket No.: 24-cr-00556(DEH)

Dear Judge Ho:

      Lt. General Michael Flynn (USA-Ret.), America’s Future, and Conservative Legal Defense
and Education Fund (“Flynn”) respectfully requests leave to file the attached amicus brief. The
Government and Defendant do not object to this application.

        This Court has ruled that amici may seek leave to file briefs addressing the issues pending
before the Court, so long as they are filed by February 28, 2025. See ECF No. 136. Leave to file a
proposed brief should be granted because it is both “timely and useful” to the Court. Andersen v.
Leavitt, No. 03-CV-6115, 2007 WL 2343672, at *2 (E.D.N.Y. Aug. 13, 2007).

        These parties have no interest in this case beyond ensuring a proper understanding and
respect for the separation of powers principles at stake in the matter before the Court. This means
parties seeking to file this brief embody the “primary role of [an] amicus,” which is to “assist the
Court in reaching the right decision in a case affected with the interest of the general public.”
Russell v. Bd. of Plumbing Examiners of Cnty. of Westchester, 74 F. Supp. 2d 349, 351 (S.D.N.Y.
1999).

      Here, the issue of executive authority of the conduct of prosecutions is a significant issue.
Accordingly, the Court should accept amici brief.

                                                  Respectfully submitted,
                                                  HARFENIST KRAUT & PERLSTEIN, LLP

                                          By:            Steven J. Harfenist
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